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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO.: 22-CV-20327-DPG

  FREEDOM FRESH, LLC,

         Plaintiff,

  v.

  CRYSTAL CRUISES, LLC, FOOK YEW AU,
  KEVIN C. JONES, RICARD JAVIER CELORIO,
  JESSICA S. HOPPE, and JACK DU WAYNE
  ANDERSON,

         Defendants,

  _______________________________________/

                           NON-PARTY BANK OF AMERICA, N.A.’S
                      EXPEDITED MOTION FOR EXTENSION OF TIME TO
                        COMPLY WITH OR SEEK CLARIFICATION OF
                      STIPULATION AND ORDER OF SETTLEMENT [DE 23]

         Non-Party, Bank of America, N.A. (“Bank of America” or the “Bank”), by and through its

  undersigned counsel, hereby moves this Court for a brief extension of time to comply with or seek

  clarification of the Stipulation and Order of Settlement [DE 23], and as grounds thereof states as

  follows:

         1.      Non-party, Bank of America, a neutral stakeholder, hereby requests an expedited

  ruling by the close of business on Friday, February 18, 2022, extending the time to comply with

  or clarifying the Stipulation and Order of Settlement, requiring the Bank to turnover funds to

  Plaintiff’s counsel by February 11, 2022, in light of the competing claims by Crystal Cruises,

  LLC’s creditors or interested persons directed at the Bank with respect to the funds at issue in the

  Stipulation and Order of Settlement.


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         2.     On January 31, 2022, Plaintiff Freedom Fresh, LLC, initiated the instant lawsuit

   against Crystal Cruises, LLC, and other defendants.

         3.     On or about February 4, 2022, this Court issued an Order Granting Temporary

   Restraining Order (the “TRO”) [DE 18], which provides in relevant part that “…banking

   institutions…shall not alienate, dissipate, pay over or assign any assets of Crystal Cruises or its

   subsidiaries or related companies until further order of this Court.”

         4.     On or about February 8, 2022, the parties entered into a settlement agreement

   whereby they stipulated for non-party Bank of America to wire “$322,652.94 to the Client Trust

   Account of McCarron & Diess pursuant to the instructions of Plaintiff’s counsel” [DE 21].

   (the “Settlement Stipulation”).

         5.     That same date, this Court adopted the Settlement Stipulation by executing the

   Stipulation and Order of Settlement [DE 23] (the “Stipulated Turnover Order”). The Stipulated

   Turnover Order provides for the Bank to make best efforts to deliver the “PACA Payment” within

   three days of entry of this Stipulation and Order.

         6.     The Bank is holding funds pursuant to the TRO and other competing legal orders

   issued by another court. The Bank has reached out to the competing creditor and is trying to

   obtain a clear response on whether the creditor unconditionally consents to the Bank delivering

   the PACA payment.

         7.     In addition, Defendant Crystal Cruises, LLC notified the Bank’s outside counsel on

   Friday afternoon that Crystal Cruises, LLC had commenced an Assignment for the Benefit of

   Creditors. To date, the Bank has not received the assignment or related records. The Assignee




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   does not object to the Bank making the PACA Payment but expects funds in excess of the PACA

   Payment to be disbursed to him.

         8.      The undesigned has therefore requested Defendant Crystal Cruises, LLC to provide

   joint written instructions from all persons with a potential claim to the funds comprising the

   PACA Payment that they have no objection to the Bank making the PACA payment without

   imposing any conditions on the Bank in exchange for their consent.

         9.      The Bank is a neutral stakeholder and should not be required to determine the

   priority of competing claims by Crystal Cruises, LLC’s creditors or interested persons.

         WHEREFORE, BANK OF AMERICA respectfully requests that the Court enter an Order

  granting the Bank a brief extension of time to comply with or seek clarification of the Stipulation

  and Order of Settlement [DE 23], and for any other relief this Court deems just and proper.

                                                                    LIEBLER, GONZALEZ & PORTUONDO
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this February 14, 2022, I electronically caused

  the foregoing document to be filed with the Clerk of Court using CM/ECF. I also

  certify that the foregoing document is being served this day on all counsel of record

  in the manner specified via transmission of Notices of Electronic Filing generated

  by CM/ECF.



                                                                 /s/ Miguel M. Cordano
                                                                 MIGUEL M. CORDANO




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